       Case 8:09-cr-00598-GLR            Document 444         Filed 02/14/11      Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

   UNITED STATES OF AMERICA ,
                            Plaintiff,

            V.
                                                                Action No. AW-09-0598
   ERICK ROMAN

                                      Defendant.



                                   MEMORANDUM OPINION

       This Memorandum Opinion sets forth, and supplements the findings, conclusions, and

oral determinations made by the Court at the February 14th, 2011 sentencing hearing.

                                               I

       As the parties are aware, in sentencing a defendant per United States v. Booker, 543 U.S.

220 (2005), the District Court must: (1) make the appropriate findings of fact (ruling on the

objections and issues in dispute), then determine the guideline range as recommended by the

sentencing guidelines; (2) determine whether a sentence within that range and within the

statutory limits serves the factors set forth in 18 U.S.C. section 3553 (a) and, if not, select a

sentence that does serve those factors; (3) implement any applicable mandatory statutory

limitations; and (4) articulate the reasons for selecting the particular sentence, especially

explaining/articulating why a sentence outside the Sentencing Guideline range (particularly

explaining any departure or variance) better serves the relevant sentencing purposes set forth in

3553(a). The Court need not discuss each factor set forth in 3553 (a) in a checklist fashion as it

is enough to calculate the range accurately and explain why (if the sentence lies outside of it) the

particular defendant deserves more or less.
       Case 8:09-cr-00598-GLR           Document 444         Filed 02/14/11    Page 2 of 3



       Under 18 USC §3553 (a), the district court must ensure that the sentence it imposes

fulfills the congressionally established objectives for sentencing, including: (1) Punishing the

defendant in light of the seriousness of the offense so as promoting respect for the law and

providing just punishment for the offense; (2) affording adequate deterrence (to deter both the

defendant and others) from criminal conduct; (3) incapacitating the defendant and thus protecting

the public from further criminal activity of the defendant; and (4) rehabilitating the defendant

with needed educational or vocational training, medical care, or other correctional treatment; and

(5) providing restitution to victims and avoiding unwarranted sentencing disparities.

                                               II

       Preliminarily, the Court adopts the findings and conclusions set forth in the Presentence

Report. With respect to the objection by the Defendant that Second Degree Assault Conviction

reflected and described in paragraphs 80-92 of the Presentence Report was not a predicate

offense to support the Defendant’s career offender status, the Court disagrees. The Defendant

claims he recalls that the Second Degree Assault charge in Montgomery County State Court in

Maryland was in his words “dropped.” The Court finds this to be a bald allegation. The Court

examined the judgment and paperwork which the probation officer submitted to the Court at the

sentencing, reviewed the facts and circumstances of the offense described in the presentence

report as lifted from the charging documents and concludes that the Defendant was convicted of

the Second Degree Assault and such offense is a crime involving physical force and violence and

is a predicate offense to support his status as a career offender.

               The Court also determines that $7630 has been adequately supported as

representing the funeral bill in connection with the decedent-victim. The Court, therefore,

assesses $7630 as restitution to be paid immediately to the family of the victim-decedent.
       Case 8:09-cr-00598-GLR          Document 444         Filed 02/14/11      Page 3 of 3



                                              III

               Finally, the Court has considered the important need to deter others (general

deterrence) which is great in this case, as well as the need to deter the Defendant (special

deterrence) which is also great considering the Defendant’s terrible criminal record. The Court

has also considered the need to avoid disparity in sentencing and recognizes that one additional

defendant who has yet to be tried has an even greater exposure that the Defendant. The court

further has taken into consideration the need to protect the community and society from further

vicious acts by this Defendant and that there was a victim murdered in the case and at least two

other were victims of attempted murder. Yet the Court has considered other sentences for those

charged in this case and has also considered other sentences it has issued over the past several

years for somewhat similar conduct and recognizes the need to attempt to avoid disparities in

sentencing.

       At the end of the day, the Court must sentence a defendant to a sentence sufficient but not

greater than necessary. The Court has considered all of the factors under section §3553 and

believes that it is appropriate here to sentence the defendant to 720 months which is less than life

but what the Court believes is sufficient and not more than necessary. The Court will issue a

JUDGMENT which is consistent with its findings and conclusions.




February 14, 2011                                             ___________/s/_____________
       (Date)                                                 ALEXANDER WILLIAMS, JR.
                                                              United States District Judge
